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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                       Case No. 15-20382
                                         Honorable Victoria A. Roberts
PAUL NICOLETTI,

     Defendant.
_____________________________/

                   ORDER SETTING BRIEFING SCHEDULE


      On February 7, 2023, Defendant filed an Emergency Motion for

Compassionate Release/Reduction in Sentence [ECF No. 264].

      The Court sets the following briefing schedule:

      1. Government’s response brief must be filed by: February 21, 2023;

         and

      2. Defendant’s Reply brief must be filed by: March 7, 2023.

      ORDERED.

                                         s/ Victoria A. Roberts
                                         Victoria A. Roberts
                                         United States District Judge
      Dated: February 10, 2023
